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IN THE UNITED sTATEs DIsTRICT COURT FOR THE F"ED B"" ~~ D~C-

WESTERN DISTRICT OF TENNESSEE 05 JUN 17 pH 3: 30

WESTERN DIVISION

v*~

BARRY POLLACI<, ) w.c. oz: -r'§; simms
)
Plaintirf, )
)

v ) Civil No. 03-2382-D/P

)
UNITED STATES, )
)
Defendant. )

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Per the Court's order dated May 20, 2005, the Court has granted the United
States’ motion for summary judgment Therefore, the Court ORDERS
(1) This case is DISMISSED WITH PREIUDICE; and

(2) 'I`he Clerk shall enter judgment for the defendant and against plaintiff.

So ordered this / 7Mday 0 . 2005.

 

Thls document entered on the docket sheet in compliance
with Fiu|e 58 andlor 79(a) FRCP on " "

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CERTIFICATE OF SERVICE
IT IS HEREB¥ CERTIFIED that service of the foregoing proposed Order has been
made this g day of ]une, 2005, by mailing, postage prepaid, addressed to:
]erry H. Schwartz

5100 Poplar Ave., Suite 2700
Memphis, TN 38137

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Notice of Distribution

This notice confirms a copy of the document docketed as number 44 in
case 2:03-CV-02882 Was distributed by faX, mail, or direct printing on
June 20, 2005 to the parties listed.

 

 

Jerry Hanover SchWartZ

LAW OFFICE OF JERRY SCHWARTZ
6256 Poplar Ave.

l\/lemphis7 TN 38119

Jason S. Zarin

U.S. DEPARTl\/IENT OF .TUSTICE
P. O. BoX 227

Ben Franklin Station

Washington, DC 20044

Honorable Bernice Donald
US DISTRICT COURT

